 AO 199A (Rev. 12/1 I) Order Setting Conditions of Release                                                   Page I of   3   Pages




                                          UNITED STATES DISTRICT COURT
                                                                        for the
                                                             Eastern District of Tennessee


                     United States of America                               )
                                     v.                                     )
                           Mark Hazelwood                                   )       Case No. 3:16-cr-020-1
                                                                            )
                                                                            )
                                Defendant

                                          ORDER SETTING CONDITIONS OF RELEASE

 IT IS ORDERED that the defendant's release is subject to these conditions:

 ( 1)   The defendant must not violate federal, state, or local law while on release.

 (2)    The defendant must cooperate in the collection of a DNA sample ifit is authorized by 42 U.S.C. § 14135a.

 (3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
        any change of residence or telephone number.

 (4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
        the court may impose.

        The defendant must appear at:
                                                                                             Place




        on
                                                                          Date and Time


        If blank, defendant will be notified of next appearance.

 (5)    The defendant must sign an Appearance Bond, if ordered.




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AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                Page_ 2 of . 3 Pages

                                                      ADDITIONAL CONDITIONS OF RELEASE
          IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( D)       (6)      The defendant is placed in the custody of:
                    Person or organization
                    Address (only ifabove is an organization)
            City and state - - - - - - - - - - - - - - - - - - - - - - - .                               Tel. No: _ _ _ _ _ _ _ _ _ _ _ _ __
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                           Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                       Custodian                                  Date
( C8J )    (7)      The defendant must:
          ( C8J)    (a) submit to supervision by and report for supervision to the _U_._S_._Pr_o_b_a_ti_on_O_f_fi_ce_ _ _ _ _ _ _ _ _ _ __
                        telephone number         (865) 545-4001 , no later than as directed
          (D )      (b) continue or actively seek employment.                     --------------
          ( D ) (c)      continue or start an education program.
          ( C8J ) (d)    surrender any passport to:         U.S. Probation Office
          ( C8J ) (e)    not obtain a passport or other in-te_r_n-at-i-on_a_l_t_ra_v_e_l_do_c_u_m_e_n_t_.- - - - - - - - - - - - - - - - - - - - - - - - - - - -
          ( C8J ) (t)   abide by the following restrictions on personal association, residence, or travel:   Travel is restricted to the ED/TN and the MD/TN,
                        unless bus_iness travel and defendant provides timely notice to the U.S. Probation Office prior to leaving and upon return
          ( C8J )   (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                        including: co-defendants

          (D )      (h) get medical or psychiatric treatment:

          (D )      (i) return to custody each                   at          o'clock after being released at _ _ _ _ _ o'clock for employment, schooling,
                        or the following purposes:

          (D )    (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                      necessary.
          ( C8J ) (k) not possess a firearm, destructive device, or other weapon.
          ( C8J ) (I) not use alcohol ( D ) at all ( C8J ) excessively.
          ( D) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                      medical practitioner.
          ( D ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                      random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                      prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                      accuracy of prohibited substance screening or testing.
          ( D ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                      supervising officer.
          ( D ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                      ( D ) (i) Curfew. You are restricted to your residence every day ( D ) from _ _ _ _ _ to _ _ _ _ , or ( D ) as
                                   directed by the pretrial services office or supervising officer; or
                      ( D ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                  medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                  activities approved in advance by the pretrial services office or supervising officer; or
                      ( D ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                  court appearances or other activities specifically approved by the court.
          ( D ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                      requirements and instructions provided.
                      (D ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                            supervising officer.
              (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
          ( C8J )
                  arrests, questioning, or traffic stops.
          (0) (s) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




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 AO 199C (Rev. 09/08) Advice of Penalties                                                                        Page _ _3__ of     3    Pages

                                            ADVICE OF PENALTIES AND SANCTIONS

 TO THE DEFENDANT:

 YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANC'_fIONS:

        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
 revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
 imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
 consecutive (i.e., in addition to) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
 tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
 to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
 significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
              not more than $250,000 or imprisoned for not more than 10 years, or both;
        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
              more than $250,000 or imprisoned for not more than five years, or both;
        (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
 addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
 ofrelease, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                           Defenan.t'tgnature

                                                         Knoxville, Tennessee
                                                                                               City and State



                                                Directions to the United States Marshal

        The defendant is ORDERED released after processing.
        The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
        the appropriate judge at the time and place specified.


 Date: _ _ _ _11_1_2_12_0_2_1_ __
                                                                         r .,,          Judicial Officer 's Signature

                                                                       H. Bruce Guyton, United States Magistrate Judge
                                                                                           Printed name and title




                     DISTRIBUTION :     COURT     DEFENDANT        PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL




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